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IN THE UNITED STATES DISTRICT COUR
FOR THE EASTERN DISTRICT OF VIRGINI
RICHMOND DIVISION

 

 

 

UNITED STATES OF AMERICA,
v. CASE NO. 3:08CR00433-001
LEIF ERIK LAWSON,

Defendant.

REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

 

This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon
the Defendant’s request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written
plea agreement that has been entered into by the United States and the Defendant. The matter
was presented to the court upon the written consent of the Defendant and counsel for the
Defendant to proceed before a United States Magistrate Judge, said consent including the
Defendant’s understanding that he consented to not only having the Magistrate Judge conduct the
hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge
make necessary findings and accepting any guilty plea as may be entered that could not be
withdrawn except for fair and just reason.

The Defendant pled guilty to Count One of the Criminal Information in open court and
pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements made by the

Defendant under oath, on the record, and based upon the written plea agreement and statement of

facts presented, the court makes the following findings:
1. That the Defendant is competent to enter a plea of guilty;

2. That the Defendant understands the nature of the charge against him to which his
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plea is offered;

3. That the Defendant understands what the maximum possible penalties are upon
conviction of the offense charged, including any mandatory minimum periods of
confinement, the effect of any required term of supervised release, the loss of
various civil rights (if applicable, including the right to vote, the right to hold
public office, the right to own and possess a firearm), the possibility of adverse
immigration consequences (if applicable), the required imposition of a special
assessment, forfeiture of real and/or personal property (if applicable), and
restitution (if applicable);

4. That the sentencing court has jurisdiction and authority to impose any sentence
within the statutory maximums provided, that the Court can reject any sentencing
factor recommendations by any party, and that the court will determine the
defendant’s actual sentence in accordance with 18 U.S.C. § 3£53(a) and that the
court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a
sentence above or below the advisory sentencing range, subject only to review by
higher courts for reasonableness;

5. That the Defendant understands his right to persist in a plea of not guilty and
require that the matter proceed to trial with all the rights and privileges attending a
trial, including, but not limited to: the right to effective assistance of counsel; the
right to use the power and processes of the court to compel evidence on the
Defendant’s behalf; the right to confront and cross-examine adverse witnesses; the
right to present relevant evidence; the right to remain silent; and the right to trial

by jury;
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6. That the Defendant understands that he is waiving any right to appeal whatever
sentence is imposed by pleading guilty, even if the sentence is erroneous, as long
as said sentence does not exceed the total statutory penalties provided;

7. That the Defendant understands all provisions of the written plea agreement
which was reviewed in essential part with the Defendant during the proceeding;

8. That the plea of guilty entered by the Defendant was knowingly and voluntarily
entered and is not the result of force or intimidation of any kind; nor is it the result
of any promises other than the representations set forth in the plea agreement; and

9, That the plea of guilty entered by the Defendant was knowingly and voluntarily
made with full knowledge of the consequences and with an independent basis in
fact to support said plea.

Accordingly, the court accepted the Defendant’s plea of guilty to Count One of the

Criminal Information and entered judgment of guilt on the subject charge. It is therefore the
recommendation of this court that its findings, including the acceptance of the Defendant’s plea

of guilty and resulting judgment of guilt, be adopted.

 

Isf f
M. Hannah Lauck Ho

United States Magistrate Judge

 

 

 

Dated: January 27, 2009
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NOTICE

The Defendant is advised that he/she may file specific written objection to this
report and recommendation with the court within ten (10) days of this date. If objection is
noted, the party objecting must promptly arrange for the transcription of the relevant
record and file it forthwith with the court for its use in any review. Failure to object in
accordance with this notice, including the requirement for preparation of a transcription of
the relevant portions of the record, will constitute a waiver of any right to de novo review of
the matter and may result in adoption of the recommendation, including the finding of

guilt as entered by the magistrate judge.
